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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 MIKHAIL FRIDMAN, PETR AVEN, and
 GERMAN KHAN,

                Plaintiffs,
                                                          No. 1:17-cv-2041-RJL
        v.

 BEAN LLC a/k/a FUSION GPS, and GLENN
 SIMPSON,

                Defendants.


                              DECLARATION OF JOSHUA A. LEVY

       I, Joshua A. Levy, declare as follows:

       1.     I am a member of the law firm Levy Firestone Muse LLP, counsel for Defendants

Bean LLC a/k/a Fusion GPS, and Glenn Simpson. I submit this Declaration in support of

Defendants’ Motion to Compel Production of Plaintiffs’ Financial Records and Other Documents

Relevant to Damages and Substantial Truth and to Revise Plaintiffs’ Answer to Interrogatory No.

20 and Rule 26(a)(1)(A)(iii) Disclosure.

       2.     Attached hereto as Exhibit 1 is a true and correct copy of Plaintiffs’ Responses and

Objections to Defendants’ Interrogatories, dated November 11, 2019.

       3.     Attached hereto as Exhibit 2 is a true and correct copy of Plaintiffs’ Second

Supplemental Responses and Objections to Defendants’ Interrogatories, dated October 14, 2020.

       4.     Attached hereto as Exhibit 3 is a true and correct copy of Plaintiffs’ Initial

Disclosures, dated September 25, 2019.

       5.     Attached hereto as Exhibit 4 is a true and correct copy of Plaintiffs’ Revised Initial

Disclosures, dated October 14, 2020.
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       6.     Attached hereto as Exhibit 5 is a true and correct copy of Plaintiffs’ Supplemental

Responses to Requests for Production of Documents, dated May 18, 2020, and a true and correct

copy of Plaintiffs’ Response to Request for Production of Documents, Number 58, dated

November 11, 2019. The complete copy of Plaintiffs’ Responses to Requests for Production of

Documents, dated November 11, 2019, is at Dkt. No. 78-5.

       7.     Attached hereto as Exhibit 6 is a true and correct copy of an email from Joshua

Levy to Alan Lewis, dated September 9, 2020.

       8.     Attached hereto as Exhibit 7 is a true and correct copy of an email from Alan Lewis

to Joshua Levy, dated September 17, 2010.

       9.     Attached hereto as Exhibit 8 is a true and correct an email from Joshua Levy to

Alan Lewis, dated September 21, 2020.

       10.    Attached hereto as Exhibit 9 is a true and correct an email from Alan Lewis to

Joshua Levy, dated September 29, 2020.

       11.    Attached hereto as Exhibit 10 is a true and correct copy of an email from Joshua

Levy to Alan Lewis, dated September 30, 2020.

       12.    Attached hereto as Exhibit 11 is a true and correct an email from Alan Lewis to

Joshua Levy, dated October 2, 2020.

       13.    Attached hereto as Exhibit 12 is a true and correct copy of an email from Joshua

Levy to Alan Lewis dated October 5, 2020.

       14.    Attached hereto as Exhibit 13 is a true and correct copy of an email from Madelyn

White to Joshua Levy, dated October 14, 2020.

       15.    Attached hereto as Exhibit 14 is a true and correct copy of an email from Joshua

Levy to Madelyn White and Alan Lewis dated October 15, 2020.


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       16.    Attached hereto as Exhibit 15 is a true and correct copy of an email from Alan

Lewis to Joshua Levy, dated October 20, 2020.

       17.    Attached hereto as Exhibit 16 is a true and correct copy of an email from Joshua

Levy to Alexander Malyshev and Alan Lewis, dated October 21, 2020.

       18.    Attached hereto as Exhibit 17 is a true and correct copy of an email from Alexander

Malyshev to Joshua Levy, dated October 21, 2020.

       19.    Attached hereto as Exhibit 18 is a true and correct copy of an email from Joshua

Levy to Alan Lewis, dated October 22, 2020.



       I declare under penalty of perjury that the foregoing is true and correct.


Executed on: October 27, 2020




                                                           Joshua A. Levy




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